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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )      CASE NO.: 1:17-CR-17-TLS
                                               )
 DEREK JORDAN                                  )


                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

          This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 97], filed on December 8, 2017. The Defendant has waived objection

 to the Findings and Recommendation, and the Court, being duly advised, adopts the Findings

 and Recommendation [ECF No. 97] in its entirety and accepts the recommended disposition.

 Subject to this Court’s consideration of the Plea Agreement pursuant to Federal Rule of Criminal

 Procedure 11(c), if applicable and necessary, the plea of guilty to the offense charged in Count

 Nine (9) of the Indictment is hereby accepted, and the Defendant is adjudged guilty of such

 offense.

          The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

 order.

          SO ORDERED on December 28, 2017.

                                                   s/ Theresa L. Springmann
                                                   CHIEF JUDGE THERESA L. SPRINGMANN
                                                   UNITED STATES DISTRICT COURT
